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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


                                               )
 ANGELA DAVIS, et al.,                         )
                                               )
        Plaintiffs,                            )
                                               )
 v.                                            )          Case No. 4:18-cv-1514-RLW
                                               )
 THE CITY OF NORMANDY,                         )
                                               )
        Defendant.                             )
                                               )


                 STIPULATION AND [PROPOSED] ORDER REGARDING
                    BRIEFING SCHEDULE ON MOTION TO DISMISS

       WHEREAS Plaintiffs Angela Davis, et al. filed a Complaint in this action on September

10, 2018 (ECF No. 1);

       WHEREAS Defendant City of Normandy (“Normandy”) requested, and the Court

granted, two extensions of time for Normandy to file a response to Plaintiffs’ Complaint (ECF

Nos. 7, 10);

       WHEREAS Normandy filed a Motion to Dismiss on November 30, 2018 (ECF No. 13)

and obtained leave of court to file a supporting memorandum in excess of the page limitations

(ECF No. 17);

       WHEREAS the Parties agree that efficiency and judicial economy would be served by

creating a briefing schedule for addressing the motion to dismiss.

       NOW, THEREFORE, the Parties stipulate and agree on the following briefing schedule:

       1.       Plaintiffs’ opposition to Normandy’s Motion to Dismiss shall be filed no later

than December 21, 2018; and



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        2.   Defendant’s reply to Plaintiffs’ opposition shall be filed no later than January 7,

2019.


IT IS SO STIPULATED.



 DATED: December 5, 2018                Plaintiffs Angela Davis, et al.

                                        By: /s/ John M. Waldron
                                        Michael-John Voss (MBE #61742MO)
                                        Blake A. Strode (MBE #68422MO)
                                        Simi Atri (MBE #70489MO)
                                        John M. Waldron (MBE #70401MO)
                                        ARCHCITY DEFENDERS, INC.
                                        440 North 4th Street, Ste. 390
                                        St. Louis, MO 63102
                                        Tel: (855) 724-2489
                                        Fax: (314) 925-1307
                                        jwaldron@archcitydefenders.org

 DATED: December 5, 2018                Defendant City of Normandy

                                        By: /s/ John M. Reeves
                                        John M. Reeves, #59634MO
                                        KING, KREHBIEL & HELLMICH, LLC
                                        2000 S. Hanley Road
                                        St. Louis, MO 63144
                                        Tel: (314) 646-1110
                                        Fax: (314) 646-1122
                                        JReeves@kingkrehbiel.com


PURSUANT TO STIPULATION, IT IS SO ORDERED.



DATED:______________________               _________________________________________
                                                 United States District Court Judge




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                                     Certificate of Service

        I hereby certify that on December 5, 2018, I electronically filed the foregoing document
with the Clerk of Court using the CM/ECF system, which will send notification of such filing to
the following:

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